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Fill in this information to identify your case:


United States Bankruptcy Court for the:

WESTERN DISTRICT OF VIRGINIA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this is an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Hunter
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        W
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Smith
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and
     doing business as names.
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-9988
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
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Debtor 1   Hunter W Smith                                                                            Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 738 Lexington Avenue
                                 Charlottesville, VA 22902
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Charlottesville City
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Hunter W Smith                                                                                 Case number (if known)


Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under      Chapter 7
                                      Chapter 11
                                      Chapter 12
                                      Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the          Yes.
     last 8 years?
                                              District                                  When                             Case number
                                              District                                  When                             Case number
                                              District                                  When                             Case number



10. Are any bankruptcy              No
    cases pending or being          Yes.
    filed by a spouse who is
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor      Champion Brewing Com[any                                     Relationship to you        Owner
                                                          Western District of
                                              District    Virginia                      When     1/29/24               Case number, if known      24-60089
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?                      Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




 Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Hunter W Smith                                                                                 Case number (if known)


Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.       Go to Part 4.
    business?
                                      Yes.      Name and location of business
     A sole proprietorship is a
     business you operate as                    Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                  Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                       Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small         No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11                     Code.
    U.S.C. § 101(51D).

                                      Yes.      I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                                I do not choose to proceed under Subchapter V of Chapter 11.

                                       Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                                choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is         Yes.
    alleged to pose a threat
    of imminent and                           What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                       If immediate attention is
    immediate attention?                      needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,              Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




 Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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Debtor 1    Hunter W Smith                                                                             Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a
     so, you are not eligible to         a certificate of completion.                                  certificate of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after                through the internet, even after I reasonably tried to
                                               I reasonably tried to do so.                                 do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




 Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                page 5
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Debtor 1    Hunter W Smith                                                                                Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will                  Yes
     be available for
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?                            100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities        $50,001 - $100,000                             $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
    to be?                          $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Hunter W Smith
                                 Hunter W Smith                                                    Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on        March 4, 2024                                  Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




 Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
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Debtor 1   Hunter W Smith                                                                                 Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. §
If you are not represented by   342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
an attorney, you do not need    in the schedules filed with the petition is incorrect.
to file this page.
                                /s/ Douglas Little                                                 Date          March 4, 2024
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Douglas Little
                                Printed name

                                Douglas E Little Attorney at Law
                                Firm name

                                PO Box 254
                                Charlottesville, VA 22902
                                Number, Street, City, State & ZIP Code

                                Contact phone     (434) 977-4500                             Email address         delittleesq@aol.com
                                 VA
                                Bar number & State




 Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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 Fill in this information to identify your case:

 Debtor 1                   Hunter W Smith
                            First Name                          Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                          Middle Name                          Last Name


 United States Bankruptcy Court for the:                  WESTERN DISTRICT OF VIRGINIA

 Case number
 (if known)                                                                                                                                                        Check if this is an
                                                                                                                                                                   amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................     $            758,900.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................          $            397,596.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................     $         1,156,496.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                      $            422,855.61

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                            $            167,305.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                              $         2,764,043.84


                                                                                                                                    Your total liabilities $               3,354,204.45


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................               $                     0.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                           $               6,465.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
                purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
            court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                         page 1 of 2
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                                      Best Case Bankruptcy
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 Debtor 1      Hunter W Smith                                                             Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                        $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

       9d. Student loans. (Copy line 6f.)                                                                 $

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


       9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                page 2 of 2
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                       Case 24-60212                      Doc 1              Filed 03/04/24 Entered 03/04/24 15:39:32                                        Desc Main
                                                                              Document     Page 10 of 59
 Fill in this information to identify your case and this filing:

 Debtor 1                     Hunter W Smith
                              First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)          First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF VIRGINIA

 Case number                                                                                                                                                        Check if this is an
                                                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                             12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?




 1.1                                                                             What is the property? Check all that apply
         738 Lexington Avenue                                                           Single-family home                         Do not deduct secured claims or exemptions. Put
         Street address, if available, or other description
                                                                                                                                   the amount of any secured claims on Schedule D:
                                                                                        Duplex or multi-unit building              Creditors Who Have Claims Secured by Property.
                                                                                        Condominium or cooperative
                                                                                        Manufactured or mobile home
                                                                                                                                   Current value of the         Current value of the
         Charlottesville                   VA        22902                              Land                                       entire property?             portion you own?
         City                              State              ZIP Code                  Investment property                               $758,900.00                  $758,900.00
                                                                                        Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                        Other
                                                                                                                                   (such as fee simple, tenancy by the entireties, or
                                                                                 Who has an interest in the property? Check one    a life estate), if known.
                                                                                        Debtor 1 only                              Tenants by Entirety
                                                                                        Debtor 2 only
         County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                        Check if this is community property
                                                                                        At least one of the debtors and another         (see instructions)
                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                         $758,900.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

         No
         Yes




Official Form 106A/B                                                                   Schedule A/B: Property                                                                    page 1
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 Debtor 1       Hunter W Smith                                                                                      Case number (if known)

4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                   $0.00

 Part 3: Describe Your Personal and          Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
6.    Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes. Describe.....
                                    Desk, office chair, 2 ottomans, office equipment, 2 sofas, armchair
                                    dining table, bed frame, television, bookshelf & books, misc
                                    kitchenware, 2 twin beds, 2 tvs, exercise equipment, 2 video game
                                    consoles, sofa, turntable & speakers, washer & dryer                                                                       $1,835.00


7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                 other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                musical instruments
        No
        Yes. Describe.....

10.    Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11.    Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes. Describe.....
                                    Misc clothing                                                                                                                $400.00


12.    Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....
                                    Wedding band                                                                                                                 $250.00


13.    Non-farm animals
       Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....
                                    2 cats                                                                                                                         $10.00



Official Form 106A/B                                                   Schedule A/B: Property                                                                        page 2
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 Debtor 1       Hunter W Smith                                                                      Case number (if known)

14.   Any other personal and household items you did not already list, including any health aids you did not list
       No
       Yes. Give specific information.....
                                    Golf clubs                                                                                                     $100.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $2,595.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                        Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

16.   Cash
      Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       No
       Yes................................................................................................................

17.   Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                    institutions. If you have multiple accounts with the same institution, list each.
       No
       Yes........................                                     Institution name:

18.   Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       No
       Yes..................        Institution or issuer name:

19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
      and joint venture
       No
       Yes. Give specific information about them...................
                                 Name of entity:                                          % of ownership:

20.   Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                         Issuer name:

21.   Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
       Yes. List each account separately.
                                Type of account:                Institution name:

22.   Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
       No
       Yes. .....................                               Institution name or individual:

23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............   Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............  Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them...


Official Form 106A/B                                                 Schedule A/B: Property                                                            page 3
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 Debtor 1       Hunter W Smith                                                                         Case number (if known)

                                              Interest as beneficiary of Clyde Ray Smith Trust, u/a dated May 25,
                                              2006                                                                                              $265,000.00

                                              TIAA retirement account inherited from Clyde Ray Smith                                            $130,000.00


26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...

27.   Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28.   Tax refunds owed to you
       No
       Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                         Federal and state income tax refunds                                                             $1.00


29.   Family support
      Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30.   Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay,       workers’ compensation, Social Security
                benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31.   Interests in insurance policies
      Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                    Company name:                                           Beneficiary:                               Surrender or refund
                                                                                                                                       value:

32.    Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
      someone has died.
        No
        Yes. Give specific information..


33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35.   Any financial assets you did not already list
       No
       Yes. Give specific information..




Official Form 106A/B                                                 Schedule A/B: Property                                                               page 4
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 Debtor 1         Hunter W Smith                                                                                                      Case number (if known)

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................             $395,001.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.   Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes.    Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.

46.    Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53.   Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                        ....................................                 $0.00

 Part 8:        List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $758,900.00
 56. Part 2: Total vehicles, line 5                                                                             $0.00
 57. Part 3: Total personal and household items, line 15                                                    $2,595.00
 58. Part 4: Total financial assets, line 36                                                              $395,001.00
 59. Part 5: Total business-related property, line 45                                                           $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                  $0.00
 61. Part 7: Total other property not listed, line 54                                           +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                  $397,596.00               Copy personal property total             $397,596.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62
                                                                                                                                                                        $1,156,496.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                              page 5
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                                         Best Case Bankruptcy
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                                                                  Document     Page 15 of 59
 Fill in this information to identify your case:

 Debtor 1                  Hunter W Smith
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:             WESTERN DISTRICT OF VIRGINIA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt
4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions.            11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      738 Lexington Avenue,                                          $758,900.00                              $336,044.39      Williams v. Peyton (In re
      Charlottesville, VA 22902                                                                                                Williams), 104 F.3d 688 (4th
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to    Cir. 1997)
                                                                                           any applicable statutory limit

      Desk, office chair, 2 ottomans, office                           $1,835.00                                 $1,835.00     Va. Code Ann. § 34-26(4a)
      equipment, 2 sofas, armchair dining
      table, bed frame, television,                                                        100% of fair market value, up to
      bookshelf & books, misc                                                              any applicable statutory limit
      kitchenware, 2 twin beds, 2 tvs,
      exercise equipment, 2 video game
      consoles, sofa, turntable & speakers,
      washer & dryer
      Line from Schedule A/B: 6.1

      Misc clothing                                                       $400.00                                  $400.00     Va. Code Ann. § 34-26(4)
      Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Wedding band                                                        $250.00                                  $250.00     Va. Code Ann. § 34-26(1a)
      Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
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                                                                  Document     Page 16 of 59
 Debtor 1    Hunter W Smith                                                                              Case number (if known)
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     2 cats                                                               $10.00                                    $10.00        Va. Code Ann. § 34-26(5)
     Line from Schedule A/B: 13.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Golf clubs                                                          $100.00                                   $100.00        Va. Code Ann. § 34-4
     Line from Schedule A/B: 14.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Interest as beneficiary of Clyde Ray                            $265,000.00                              $265,000.00         Va. Code Ann. § 64.2-743(C)
     Smith Trust, u/a dated May 25, 2006
     Line from Schedule A/B: 25.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     TIAA retirement account inherited                               $130,000.00                                 $5,898.00        Va. Code Ann. § 34-4
     from Clyde Ray Smith
     Line from Schedule A/B: 25.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Federal and state income tax refunds                                   $1.00                                     $1.00       Va. Code Ann. § 34-4
     Line from Schedule A/B: 28.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $189,050?
    (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Hunter W Smith
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:             WESTERN DISTRICT OF VIRGINIA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Affiliated Mortgage
 2.1
         Services                                 Describe the property that secures the claim:               $422,855.61               $758,900.00                     $0.00
         Creditor's Name                          738 Lexington Avenue,
                                                  Charlottesville, VA 22902

                                                  As of the date you file, the claim is: Check all that
         P.O. Box 428                             apply.
         Rocky Mount, NC 27802                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)
      community debt

 Date debt was incurred                                    Last 4 digits of account number




   Add the dollar value of your entries in Column A on this page. Write that number here:                               $422,855.61
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                              $422,855.61

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                     Hunter W Smith
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                WESTERN DISTRICT OF VIRGINIA

 Case number
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:         List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim        Priority              Nonpriority
                                                                                                                                         amount                amount

 2.1          City of Charlottesville                                Last 4 digits of account number                     $150,305.00                  $0.00        $150,305.00
              Priority Creditor's Name
              P.O. Box 2964                                          When was the debt incurred?
              Charlottesville, VA 22902
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations
          Check if this claim is for a      community                   Taxes and certain other debts you owe the government
        debt                                                            Claims for death or personal injury while you were intoxicated
        Is the claim subject to offset?                                 Other. Specify
            No                                                                           Meals tax
            Yes


 2.2          Internal Revenue Service                               Last 4 digits of account number                       $17,000.00                 $0.00         $17,000.00
              Priority Creditor's Name
              PO Box 7346                                            When was the debt incurred?           2021
              Philadelphia, PA 19101-7346
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations
          Check if this claim is for a      community                   Taxes and certain other debts you owe the government
        debt                                                            Claims for death or personal injury while you were intoxicated
        Is the claim subject to offset?                                 Other. Specify
            No                                                                           Income taxes
            Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 9
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 Debtor 1 Hunter W Smith                                                                                   Case number (if known)

 2.3        Virginia Department of Taxation                          Last 4 digits of account number                         Unknown                      $0.00               $0.00
            Priority Creditor's Name
            PO Box 2369                                              When was the debt incurred?
            Richmond, VA 23218-2369
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations
          Check if this claim is for a     community                    Taxes and certain other debts you owe the government
        debt                                                            Claims for death or personal injury while you were intoxicated
        Is the claim subject to offset?                                 Other. Specify
            No
            Yes



 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?
          No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1        Ally Financial                                             Last 4 digits of account number                                                               $45,276.00
            Nonpriority Creditor's Name
            200 Renaissance Center, #B0                                When was the debt incurred?
            Detroit, MI 48243
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                Debtor 1 only                                             Contingent
                Debtor 2 only                                             Unliquidated
                Debtor 1 and Debtor 2 only                                Disputed
                At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                Check if this claim is for a community                    Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims
                No                                                        Debts to pension or profit-sharing plans, and other similar debts
                 Yes                                                       Other. Specify   Cosigned car loan - car in wife's name


 4.2        AMV Properties                                             Last 4 digits of account number                                                              $100,000.00
            Nonpriority Creditor's Name
            234 Vineyard Lane                                          When was the debt incurred?
            Afton, VA 22920
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                Debtor 1 only                                             Contingent
                Debtor 2 only                                             Unliquidated
                Debtor 1 and Debtor 2 only                                Disputed
                At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                Check if this claim is for a community                    Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims
                No                                                        Debts to pension or profit-sharing plans, and other similar debts
                 Yes                                                       Other. Specify   Note




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 2 of 9
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 Debtor 1 Hunter W Smith                                                                                 Case number (if known)

 4.3      Anthony Smith                                              Last 4 digits of account number                                                      $63,000.00
          Nonpriority Creditor's Name
          234 Vineyard Lane                                          When was the debt incurred?
          Afton, VA 22920
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Loan


 4.4      Atlantic Union Bank                                        Last 4 digits of account number       8426                                           $23,166.51
          Nonpriority Creditor's Name
          P.O. Box 5568                                              When was the debt incurred?           06/18
          Glen Allen, VA 23058
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Line of credit


 4.5      Bluevine                                                   Last 4 digits of account number                                                      $21,700.00
          Nonpriority Creditor's Name
          30 Montgomery St. Ste 1400                                 When was the debt incurred?
          Jersey City, NJ 07302
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.6      Capital One                                                Last 4 digits of account number       5156                                             $2,268.04
          Nonpriority Creditor's Name
          1680 Capital One Drive                                     When was the debt incurred?           12/19
          Mc Lean, VA 22102
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 9
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 Debtor 1 Hunter W Smith                                                                                 Case number (if known)


 4.7      Cavalier Produce                                           Last 4 digits of account number                                                        $8,386.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?
          170 Ferncliff
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.8      Colliers International                                     Last 4 digits of account number                                                      $54,041.43
          Nonpriority Creditor's Name
          2221 Edward Holland Dr., Ste. 600                          When was the debt incurred?
          ATTN: Danny Lambert
          Richmond, VA 23230
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Lease guaranty


          Community Investment
 4.9      Collaborative                                              Last 4 digits of account number                                                        $1,125.99
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?           1021
          300 Preston Ave., #206
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 9
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 Debtor 1 Hunter W Smith                                                                                 Case number (if known)

 4.1
 0        Gordonsville Realty Investments                            Last 4 digits of account number                                                     $605,000.00
          Nonpriority Creditor's Name
          200 Garret St., Ste 0                                      When was the debt incurred?
          Charlottesville, VA 22902
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Note guaranty


 4.1
 1        J. R. Hadley                                               Last 4 digits of account number                                                      $31,778.00
          Nonpriority Creditor's Name
          214 Harvest Drive                                          When was the debt incurred?
          Charlottesville, VA 22903
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Loan


 4.1
 2        JP Morgan Chase Bank, N.A.                                 Last 4 digits of account number       1854                                           $13,302.31
          Nonpriority Creditor's Name
          1111 Polaris Pkwy                                          When was the debt incurred?           01/18
          Columbus, OH 43240
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Credit card purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 9
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 Debtor 1 Hunter W Smith                                                                                 Case number (if known)

 4.1
 3        PBM Ice House                                              Last 4 digits of account number                                                      $43,568.02
          Nonpriority Creditor's Name
          200 Garret St., Ste 0                                      When was the debt incurred?
          Charlottesville, VA 22902
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Note guaranty


 4.1
 4        PBM Ice House, LLC                                         Last 4 digits of account number                                                     $910,000.00
          Nonpriority Creditor's Name
          200 Garrett St., Ste 0                                     When was the debt incurred?
          Charlottesville, VA 22902
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Note guaranty


 4.1
 5        SKA Fabricating                                            Last 4 digits of account number                                                      $10,229.72
          Nonpriority Creditor's Name
          545 Turner Dr., Ste A                                      When was the debt incurred?           11/22
          Durango, CO 81303
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 9
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 Debtor 1 Hunter W Smith                                                                                 Case number (if known)

 4.1
 6        Small Business Administration                              Last 4 digits of account number                                                     $428,695.00
          Nonpriority Creditor's Name
          409 3rd St., SW                                            When was the debt incurred?           01/22
          Washington, DC 20416
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Loan


 4.1
 7        Standard Produce                                           Last 4 digits of account number                                                      $47,217.46
          Nonpriority Creditor's Name
          140 Garrett St                                             When was the debt incurred?
          Charlottesville, VA 22902
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt


 4.1
 8        Virginia Linen Service                                     Last 4 digits of account number                                                      $54,939.78
          Nonpriority Creditor's Name
          174 Industrial Dr                                          When was the debt incurred?           05/23
          Ruckersville, VA 22968
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
              No                                                        Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Trade debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 7 of 9
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 Debtor 1 Hunter W Smith                                                                                 Case number (if known)

 4.1
 9         Virginia Pacific Investments                              Last 4 digits of account number                                                              $200,000.00
           Nonpriority Creditor's Name
           ATTN: Kimberly Giddings                                   When was the debt incurred?           10/20
           2088 Union St., Ste 1
           San Francisco, CA 94123
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
               Debtor 1 only                                            Contingent
               Debtor 2 only                                            Unliquidated
               Debtor 1 and Debtor 2 only                               Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
               No                                                       Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Lease guarantee


 4.2
 0         Wilson Richey                                             Last 4 digits of account number                                                               $83,300.00
           Nonpriority Creditor's Name
           1883 Pine Cone Circle                                     When was the debt incurred?           10/18
           Charlottesville, VA 22901
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
               Debtor 1 only                                            Contingent
               Debtor 2 only                                            Unliquidated
               Debtor 1 and Debtor 2 only                               Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
               No                                                       Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Loan


 4.2
 1         Woodard Properties                                        Last 4 digits of account number                                                               $17,049.58
           Nonpriority Creditor's Name
           224 14th St., NW                                          When was the debt incurred?
           Charlottesville, VA 22903
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
               Debtor 1 only                                            Contingent
               Debtor 2 only                                            Unliquidated
               Debtor 1 and Debtor 2 only                               Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
               No                                                       Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                       Other. Specify   Lease guaranty

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cheri Lewis, Esq.                                             Line 4.11 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 619 E. High St.
 Charlottesville, VA 22902
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Flora Pettit                                                  Line 4.19 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 2057

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 8 of 9
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 Debtor 1 Hunter W Smith                                                                                Case number (if known)

 Charlottesville, VA 22902
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kristen Mynes, Esq.                                           Line 4.18 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 McGuire Woods, LLP
 323 Second St., SE
 Charlottesville, VA 22902
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Scott/Kroner, PLC                                             Line 4.7 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 418 East Water St
 Charlottesville, VA 22902
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Tom Shanahan                                                  Line 4.17 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 1547
 Mandeville, LA 70470
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6.    Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                 6a.       $                           0.00
 Total claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                         6b.       $                  167,305.00
                        6c.   Claims for death or personal injury while you were intoxicated               6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.      6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                     6e.       $                  167,305.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                6f.       $                           0.00
 Total claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                        6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts            6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount         6i.
                              here.                                                                                  $               2,764,043.84

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                  6j.       $               2,764,043.84




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 9 of 9
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 Fill in this information to identify your case:

 Debtor 1                  Hunter W Smith
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               WESTERN DISTRICT OF VIRGINIA

 Case number
 (if known)                                                                                                                          Check if this is an
                                                                                                                                     amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Hunter W Smith
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 WESTERN DISTRICT OF VIRGINIA

 Case number
 (if known)                                                                                                                  Check if this is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                     Check all schedules that apply:


    3.1         212-214 N. Main St., LLC                                                             Schedule D, line
                                                                                                     Schedule E/F, line   4.10
                                                                                                     Schedule G
                                                                                                   Gordonsville Realty Investments



    3.2         422 Champs, LLC                                                                       Schedule D, line
                                                                                                      Schedule E/F, line   4.19
                                                                                                      Schedule G
                                                                                                   Virginia Pacific Investments



    3.3         422 Champs, LLC                                                                       Schedule D, line
                                                                                                      Schedule E/F, line  4.18
                                                                                                      Schedule G
                                                                                                   Virginia Linen Service



    3.4         422 Champs, LLC                                                                       Schedule D, line
                                                                                                      Schedule E/F, line    4.11
                                                                                                      Schedule G
                                                                                                   J. R. Hadley




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 1 of 4
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 Debtor 1 Hunter W Smith                                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt
                                                                                                Check all schedules that apply:
    3.5      422 Champs, LLC                                                                      Schedule D, line
                                                                                                  Schedule E/F, line    4.17
                                                                                                 Schedule G
                                                                                               Standard Produce



    3.6      Champion Brewing Company, LLC                                                       Schedule D, line
                                                                                                 Schedule E/F, line     4.7
                                                                                                 Schedule G
                                                                                               Cavalier Produce



    3.7      Champion Brewing Company, LLC                                                       Schedule D, line
                                                                                                 Schedule E/F, line     4.15
                                                                                                 Schedule G
                                                                                               SKA Fabricating



    3.8      Champion Brewing Company, LLC                                                       Schedule D, line
                                                                                                 Schedule E/F, line     4.5
                                                                                                 Schedule G
                                                                                               Bluevine



    3.9      Champion Brewing Company, LLC                                                       Schedule D, line
                                                                                                 Schedule E/F, line 4.9
                                                                                                 Schedule G
                                                                                               Community Investment Collaborative



    3.10     Champion Brewing Company, LLC                                                       Schedule D, line
                                                                                                 Schedule E/F, line 4.16
                                                                                                 Schedule G
                                                                                               Small Business Administration



    3.11     Champion Brewing Company, LLC                                                        Schedule D, line
                                                                                                  Schedule E/F, line  4.18
                                                                                                  Schedule G
                                                                                               Virginia Linen Service



    3.12     Champion Brewing Company, LLC                                                       Schedule D, line
                                                                                                 Schedule E/F, line     4.13
                                                                                                 Schedule G
                                                                                               PBM Ice House



    3.13     Champion Brewing Company, LLC                                                       Schedule D, line
                                                                                                 Schedule E/F, line 4.12
                                                                                                 Schedule G
                                                                                               JP Morgan Chase Bank, N.A.



Official Form 106H                                                         Schedule H: Your Codebtors                                 Page 2 of 4
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 Debtor 1 Hunter W Smith                                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt
                                                                                                Check all schedules that apply:

    3.14     Champion Brewing Company, LLC                                                        Schedule D, line
                                                                                                  Schedule E/F, line  2.3
                                                                                                  Schedule G
                                                                                               Virginia Department of Taxation



    3.15     Champion Brewing Company, LLC                                                        Schedule D, line
                                                                                                  Schedule E/F, line   2.1
                                                                                                  Schedule G
                                                                                               City of Charlottesville



    3.16     Champion Ice House, LLC                                                             Schedule D, line
                                                                                                 Schedule E/F, line   4.10
                                                                                                 Schedule G
                                                                                               Gordonsville Realty Investments



    3.17     Champion Ice House, LLC                                                             Schedule D, line
                                                                                                 Schedule E/F, line     4.14
                                                                                                 Schedule G
                                                                                               PBM Ice House, LLC



    3.18     Danielle R. Smith                                                                    Schedule D, line   2.1
             738 Lexington Avenue                                                                 Schedule E/F, line
             Charlottesville, VA 22902                                                            Schedule G
                                                                                               Affiliated Mortgage Services



    3.19     Danielle R. Smith                                                                    Schedule D, line
             738 Lexington Ave                                                                    Schedule E/F, line  2.2
             Charlottesville, VA 22902                                                            Schedule G
                                                                                               Internal Revenue Service



    3.20     Grill and Chill, LLC                                                                 Schedule D, line
                                                                                                  Schedule E/F, line    4.11
                                                                                                  Schedule G
                                                                                               J. R. Hadley



    3.21     Grill and Chill, LLC                                                                 Schedule D, line
                                                                                                  Schedule E/F, line    4.17
                                                                                                 Schedule G
                                                                                               Standard Produce




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 Debtor 1 Hunter W Smith                                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt
                                                                                                Check all schedules that apply:
    3.22     Grill and Chill, LLC                                                                Schedule D, line
                                                                                                 Schedule E/F, line      4.6
                                                                                                 Schedule G
                                                                                               Capital One



    3.23     Paper Canoe, LLC                                                                     Schedule D, line
             111 East Main St                                                                     Schedule E/F, line     4.4
             Charlottesville, VA 22902                                                            Schedule G
             Inactive                                                                          Atlantic Union Bank



    3.24     Paper Canoe, LLC                                                                    Schedule D, line
             111 East Main St                                                                    Schedule E/F, line      4.20
             Charlottesville, VA 22902                                                           Schedule G
             Inactive                                                                          Wilson Richey



    3.25     Paper Canoe, LLC                                                                     Schedule D, line
             111 East Main St                                                                     Schedule E/F, line  4.18
             Charlottesville, VA 22902                                                            Schedule G
             Inactive                                                                          Virginia Linen Service



    3.26     Paper Canoe, LLC                                                                    Schedule D, line
             111 East Main St                                                                    Schedule E/F, line      4.21
             Charlottesville, VA 22902                                                           Schedule G
             Inactive                                                                          Woodard Properties



    3.27     Paper Canoe, LLC                                                                    Schedule D, line
             111 East Main St                                                                    Schedule E/F, line      4.2
             Charlottesville, VA 22902                                                           Schedule G
             Inactive                                                                          AMV Properties



    3.28     Siren Restaurant and Brew, LLC                                                      Schedule D, line
                                                                                                 Schedule E/F, line      4.8
                                                                                                 Schedule G
                                                                                               Colliers International




Official Form 106H                                                         Schedule H: Your Codebtors                                 Page 4 of 4
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Fill in this information to identify your case:

Debtor 1                      Hunter W Smith

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       WESTERN DISTRICT OF VIRGINIA

Case number                                                                                              Check if this is:
(If known)                                                                                                  An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                 Debtor 1                                   Debtor 2 or non-filing spouse
       If you have more than one job,        Employment status         Employed                                   Employed
       attach a separate page with
       information about additional                                    Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or                              Unemployed
       self-employed work.
                                             Employer's name
       Occupation may include student
       or homemaker, if it applies.          Employer's address



                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1        For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.           2.    $             0.00      $              N/A

3.     Estimate and list monthly overtime pay.                                               3.   +$             0.00      +$             N/A

4.     Calculate gross Income. Add line 2 + line 3.                                          4.    $           0.00            $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                   page 1
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Debtor 1    Hunter W Smith                                                                                                           Case number (if known)



                                                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                                                               non-filing spouse
     Copy line 4 here ...................................................................................................     4.         $              0.00   $             N/A

5.   List all payroll deductions:
     5a.      Tax, Medicare, and Social Security deductions                                                                   5a.        $              0.00   $                N/A
     5b.      Mandatory contributions for retirement plans                                                                    5b.        $              0.00   $                N/A
     5c.      Voluntary contributions for retirement plans                                                                    5c.        $              0.00   $                N/A
     5d.      Required repayments of retirement fund loans                                                                    5d.        $              0.00   $                N/A
     5e.      Insurance                                                                                                       5e.        $              0.00   $                N/A
     5f.      Domestic support obligations                                                                                    5f.        $              0.00   $                N/A
     5g.      Union dues                                                                                                      5g.        $              0.00   $                N/A
     5h.      Other deductions. Specify:                                                                                      5h.+       $              0.00 + $                N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                                                           6.     $                  0.00   $                N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                      7.     $                  0.00   $                N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                               8a.        $              0.00   $                N/A
     8b.      Interest and dividends                                                                                          8b.        $              0.00   $                N/A
     8c.      Family support payments that you, a non-filing spouse, or a dependent
              regularly receive
              Include alimony, spousal support, child support, maintenance, divorce
              settlement, and property settlement.                                                                            8c.        $              0.00   $                N/A
     8d.      Unemployment compensation                                                                                       8d.        $              0.00   $                N/A
     8e.      Social Security                                                                                                 8e.        $              0.00   $                N/A
     8f.      Other government assistance that you regularly receive
              Include cash assistance and the value (if known) of any non-cash assistance
              that you receive, such as food stamps (benefits under the Supplemental
              Nutrition Assistance Program) or housing subsidies.
              Specify:                                                                                                        8f.  $                    0.00   $                N/A
     8g.      Pension or retirement income                                                                                    8g. $                     0.00   $                N/A
     8h.      Other monthly income. Specify:                                                                                  8h.+ $                    0.00 + $                N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                                                                 9.     $                  0.00   $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                                                          10. $               0.00 + $             N/A = $             0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                                                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                                                           12.   $            0.00
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                                                 Schedule I: Your Income                                                            page 2
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Fill in this information to identify your case:

Debtor 1                 Hunter W Smith                                                                     Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                             expenses as of the following date:

United States Bankruptcy Court for the:   WESTERN DISTRICT OF VIRGINIA                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s      Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age              live with you?
      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  10                   Yes
                                                                                                                                             No
                                                                                   Daughter                             12                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than                Yes
      yourself and your dependents?

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             3,030.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                 0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                 0.00

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                  6a.    $                            250.00
      6b. Water, sewer, garbage collection                                                                6b.    $                            150.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                  6c.    $                            335.00
      6d. Other. Specify:                                                                                 6d.    $                              0.00

Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
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Debtor 1     Hunter W Smith                                                                            Case number (if known)

7.    Food and housekeeping supplies                                                           7. $                                             1,200.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                50.00
10.   Personal care products and services                                                    10. $                                                  0.00
11.   Medical and dental expenses                                                            11. $                                                200.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                150.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                100.00
14.   Charitable contributions and religious donations                                       14. $                                                  0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   0.00
      15b. Health insurance                                                                15b. $                                                 500.00
      15c. Vehicle insurance                                                               15c. $                                                   0.00
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                   0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                   0.00
      17c. Other. Specify: IRS payment plan                                                17c. $                                                 500.00
      17d. Other. Specify:                                                                 17d. $                                                   0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       6,465.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       6,465.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                                   0.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              6,465.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                          23c. $                              -6,465.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Debtor's expenses are currently being covered by family members




Official Form 106J                                                 Schedule J: Your Expenses                                                                      page 2
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 Fill in this information to identify your case:

 Debtor 1                    Hunter W Smith
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:             WESTERN DISTRICT OF VIRGINIA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No
                Yes.      Name of person                                                                        Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Hunter W Smith                                                        X
              Hunter W Smith                                                            Signature of Debtor 2
              Signature of Debtor 1

              Date        March 4, 2024                                                 Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Hunter W Smith
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:             WESTERN DISTRICT OF VIRGINIA

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                               Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                              $0.00          Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business

 For last calendar year:                              Wages, commissions,                       $50,000.00            Wages, commissions,
 (January 1 to December 31, 2023 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1

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 Debtor 1      Hunter W Smith                                                                              Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For the calendar year before that:                   Wages, commissions,                      $115,000.00            Wages, commissions,
 (January 1 to December 31, 2022 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.
            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
      including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
      support and alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe




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 Debtor 1      Hunter W Smith                                                                              Case number (if known)



8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Blue Ridge Bank v. Hunter Smith,                         Breach of                   Page County Circuit Court                    Pending
       Anthony Smith and Champion                               contract                                                                 On appeal
       Brewery                                                                                                                           Concluded


       Virginia Pacific Investments v.                          Breach of lease             Charlottesville Circuit Court                Pending
       Champion Hospitality Group, 422                                                                                                   On appeal
       Chance, LLC, and Hunter Smith                                                                                                     Concluded


       Charlottesville Produce v.                               Breach of                   Charlottesville Circuit Court                Pending
       Champion Brewery and Hunter                              contract                                                                 On appeal
       Smith                                                                                                                             Concluded


       Virginia Linen v. Champion                               Breach of                   Charlottesville Circuit Court                Pending
       Brewery, Paper Canoe, LLC, 422                           contract                                                                 On appeal
       Chance, LLC, and Hunter Smith                                                                                                     Concluded


       Virginia Linen Service, Inc. v.                          Summons to                  Charlottesville Circuit Court                Pending
       Hunter Smith                                             Answer                                                                   On appeal
                                                                Interrogatories                                                          Concluded

                                                                                                                                     To appear on March 6, 2024


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened
       Blue Ridge Bank                                          Wells Fargo bank account; account                                                               $0.00
                                                                garnished but funds returned because
                                                                account was in joint names

                                                                     Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.




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11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
        No
        Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was             Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?
            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
        Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
        Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

            No
            Yes.    Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                           lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Douglas E Little Attorney at Law                              Attorney Fee                                                                        $750.00
       PO Box 254
       Charlottesville, VA 22902
       delittleesq@aol.com




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17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Unknown - E-bay sales                                         Miscellaneous personal                     Total approximately
                                                                     property                                   $2,500.00

       None


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
        No
        Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred
       Wells Fargo                                              XXXX-                         Checking                  10/23                                 $0.00
                                                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                               have it?
                                                                     State and ZIP Code)




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22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                     have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes.    Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                       Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you    Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you    Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case              Status of the
       Case Number                                                   Name                                                                       case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

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             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Champion Brewery of Lynchburg                           Brewery                                          EIN:

                                                                                                                 From-To

        Reasonable, LLC                                         Restaurant                                       EIN:

                                                                                                                 From-To

        Siren, LLC                                              Restaurant                                       EIN:

                                                                                                                 From-To

        Champion Ice House, LLC                                 Restaurant                                       EIN:

                                                                                                                 From-To

        Paper Canoe, LLC                                        Restaurant                                       EIN:         XX-XXXXXXX
                                                                                                                 From-To      2016 - 2023

        422 Champs, LLC                                         Restaurant                                       EIN:         XX-XXXXXXX
                                                                                                                 From-To      2019-2022

        Grill and Chill, LLC                                    Restaurant                                       EIN:         XX-XXXXXXX
                                                                                                                 From-To      2019-2022

        Champion Brewing Company, LLC                           Restaurant                                       EIN:         XX-XXXXXXX
                                                                                                                 From-To


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Hunter W Smith
 Hunter W Smith                                                          Signature of Debtor 2
 Signature of Debtor 1

 Date       March 4, 2024                                                Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7

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   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:

 Debtor 1                   Hunter W Smith
                            First Name                      Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name              Last Name


 United States Bankruptcy Court for the:             WESTERN DISTRICT OF VIRGINIA

 Case number
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                     12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
    you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
           whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
           on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that   Did you claim the property
                                                               secures a debt?                                   as exempt on Schedule C?



    Creditor's          Affiliated Mortgage Services                        Surrender the property.                              No
    name:                                                                    Retain the property and redeem it.
                                                                            Retain the property and enter into a                 Yes
    Description of         738 Lexington Avenue,                            Reaffirmation Agreement.
    property               Charlottesville, VA 22902                        Retain the property and [explain]:
    securing debt:                                                        Retain and pay pursuant to contract

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?

 Lessor's name:                                                                                                             No
 Description of leased
 Property:                                                                                                                  Yes

 Lessor's name:                                                                                                             No
 Description of leased
 Property:                                                                                                                  Yes

 Lessor's name:                                                                                                             No
 Description of leased
 Property:                                                                                                                  Yes


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                   page 1

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 Debtor 1      Hunter W Smith                                                                        Case number (if known)



 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Hunter W Smith                                                           X
       Hunter W Smith                                                                   Signature of Debtor 2
       Signature of Debtor 1

       Date          March 4, 2024                                                  Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                           page 2

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 Fill in this information to identify your case:                                                     Check one box only as directed in this form and in Form
                                                                                                     122A-1Supp:
 Debtor 1               Hunter W Smith
 Debtor 2                                                                                                    1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                             2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            Western District of Virginia                                applies will be made under Chapter 7 Means Test
                                                                                                                Calculation (Official Form 122A-2).
 Case number                                                                                                 3. The Means Test does not apply now because of
 (if known)                                                                                                     qualified military service but it could apply later.
                                                                                                             Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                     12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income
  1. What is your marital and filing status? Check one only.
       Not married. Fill out Column A, lines 2-11.
       Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
       Married and your spouse is NOT filing with you. You and your spouse are:
         Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
         Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
          penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
          apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. § 101(10A).
    For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the 6 months,
    add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same
    rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A                  Column B
                                                                                                         Debtor 1                  Debtor 2 or
                                                                                                                                   non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                          $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                          $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                          $
  5. Net income from operating a business, profession, or farm
                                                                                   Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from a business, profession, or farm $                       Copy here -> $                             $
  6. Net income from rental and other real property
                                                                                   Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from rental or other real property            $              Copy here -> $                             $
  7. Interest, dividends, and royalties                                                                  $                         $




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                       page 1
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                                                                                                             Column A                     Column B
                                                                                                             Debtor 1                     Debtor 2 or
                                                                                                                                          non-filing spouse
  8. Unemployment compensation                                                           $                                                $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
            For you ....................................................................$
         For your spouse.......................................................$
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability,
      or death of a member of the uniformed services. If you received any retired pay paid
      under chapter 61 of title 10, then include that pay only to the extent that it does not
      exceed the amount of retired pay to which you would otherwise be entitled if retired
      under any provision of title 10 other than chapter 61 of that title.                    $                                           $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments received
      as a victim of a war crime, a crime against humanity, or international or domestic
      terrorism; or compensation pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability,
      or death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below..
              .                                                                               $                                           $
                                                                                                             $                            $
                     Total amounts from separate pages, if any.                                          +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                        $                        +$                     =$

                                                                                                                                                          Total current monthly
                                                                                                                                                          income

 Part 2:          Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11.........................................................Copy line 11 here=>           $


               Multiply by 12 (the number of months in a year)                                                                                             x 12
       12b. The result is your annual income for this part of the form                                                                          12b. $

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.
       Fill in the median family income for your state and size of household. ........................................................... 13.         $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions for
       this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.                Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                           Go to Part 3. Do NOT fill out or file Official Form 122A-2.
       14b.                Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                           Go to Part 3 and fill out Form 122A–2.
 Part 3:          Sign Below
               By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

              X /s/ Hunter W Smith
                   Hunter W Smith
                   Signature of Debtor 1
        Date        March 4, 2024
                   MM / DD / YYYY
Official Form 122A-1                                                 Chapter 7 Statement of Your Current Monthly Income                                                 page 2
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 Debtor 1    Hunter W Smith                                                                       Case number (if known)


             If you checked line 14a, do NOT fill out or file Form 122A-2.
             If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                              page 3
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 Fill in this information to identify your case:

 Debtor 1            Hunter W Smith

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Western District of Virginia

 Case number                                                                                    Check if this is an amended filing
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                  12/15
File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:       Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).
           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
                supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:       Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
        No. Go to line 3.
        Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
             10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
            No.    Go to line 3.
            Yes. Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
                   this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
        No.   Complete Form 122A-1. Do not submit this supplement.
        Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
            No.    Complete Form 122A-1. Do not submit this supplement.
            Yes. Check any one of the following categories that applies:
                                                                                          If you checked one of the categories to the left, go to Form
                   I was called to active duty after September 11, 2001, for at least 90 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                   days and remain on active duty.                                        The Means Test does not apply now, and sign Part 3. Then
                   I was called to active duty after September 11, 2001, for at least 90 submit this supplement with the signed Form 122A-1. You
                   days and was released from active duty on                      , which are not required to fill out the rest of Official Form 122A-1
                   is fewer than 540 days before I file this bankruptcy case.             during the exclusion period. The exclusion period means the
                                                                                          time you are on active duty or are performing a homeland
                   I am performing a homeland defense activity for at least 90 days. defense activity, and for 540 days afterward. 11 U.S.C. §
                                                                                          707(b)(2)(D)(ii).
                   I performed a homeland defense activity for at least 90 days,
                   ending on                      , which is fewer than 540 days before I
                                                                                          If your exclusion period ends before your case is closed, you
                   file this bankruptcy case.
                                                                                          may have to file an amended form later.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                               page 1
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:            Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $78      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $338      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1

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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167       filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $571      administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738       total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                             page 2

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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200          filing fee                                               years or 5 years, depending on your income and other
 +                  $78          administrative fee                                       factors.
                   $278          total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235          filing fee                                                      debts for fraud or defalcation while acting in a
 +                  $78          administrative fee                                              fiduciary capacity,
                   $313          total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3

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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/forms/bankruptcy-forms                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
 Bankruptcy crimes have serious consequences                                              days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
        If you knowingly and fraudulently conceal assets                                  Internet.
        or make a false oath or statement under penalty of
        perjury—either orally or in writing—in connection                                 In addition, after filing a bankruptcy case, you generally
        with a bankruptcy case, you may be fined,                                         must complete a financial management instructional
        imprisoned, or both.                                                              course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
        All information you supply in connection with a                                   course.
        bankruptcy case is subject to examination by the
        Attorney General acting through the Office of the                                 You can obtain the list of agencies approved to provide
        U.S. Trustee, the Office of the U.S. Attorney, and                                both the briefing and the instructional course from:
        other offices and employees of the U.S.                                           http://www.uscourts.gov/services-forms/bankruptcy/cre
        Department of Justice.                                                            dit-counseling-and-debtor-education-courses.

 Make sure the court has your mailing address                                             In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
 The bankruptcy court sends notices to the mailing                                        dit-counseling-and-debtor-education-courses.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4

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B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                                  Western District of Virginia
 In re       Hunter W Smith                                                                                                                        Case No.
                                                                                                           Debtor(s)                               Chapter    7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept ....................................................................                  $                  1,500.00
             Prior to the filing of this statement I have received .......................................................                     $                   750.00
             Balance Due ...................................................................................................................   $                   750.00

2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
               Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
               reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
               522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     March 4, 2024                                                                                        /s/ Douglas Little
     Date                                                                                                 Douglas Little
                                                                                                          Signature of Attorney
                                                                                                          Douglas E Little Attorney at Law
                                                                                                          PO Box 254
                                                                                                          Charlottesville, VA 22902
                                                                                                          (434) 977-4500 Fax:
                                                                                                          delittleesq@aol.com
                                                                                                          Name of law firm




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                                                             United States Bankruptcy Court
                                                                     Western District of Virginia
 In re      Hunter W Smith                                                                          Case No.
                                                                                  Debtor(s)         Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date:      March 4, 2024                                              /s/ Hunter W Smith
                                                                       Hunter W Smith
                                                                       Signature of Debtor




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                         Affiliated Mortgage Services
                         P.O. Box 428
                         Rocky Mount, NC 27802


                         Ally Financial
                         200 Renaissance Center, #B0
                         Detroit, MI 48243


                         AMV Properties
                         234 Vineyard Lane
                         Afton, VA 22920


                         Anthony Smith
                         234 Vineyard Lane
                         Afton, VA 22920


                         Atlantic Union Bank
                         P.O. Box 5568
                         Glen Allen, VA 23058


                         Bluevine
                         30 Montgomery St. Ste 1400
                         Jersey City, NJ 07302


                         Capital One
                         1680 Capital One Drive
                         Mc Lean, VA 22102


                         Cavalier Produce
                         170 Ferncliff


                         Cheri Lewis, Esq.
                         619 E. High St.
                         Charlottesville, VA 22902


                         City of Charlottesville
                         P.O. Box 2964
                         Charlottesville, VA 22902


                         Colliers International
                         ATTN: Danny Lambert
                         2221 Edward Holland Dr., Ste. 600
                         Richmond, VA 23230


                         Community Investment Collaborative
                         300 Preston Ave., #206


                         Danielle R. Smith
                         738 Lexington Avenue
                         Charlottesville, VA 22902


                         Flora Pettit
                         P.O. Box 2057
                         Charlottesville, VA 22902
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                         Gordonsville Realty Investments
                         200 Garret St., Ste 0
                         Charlottesville, VA 22902


                         Internal Revenue Service
                         PO Box 7346
                         Philadelphia, PA 19101-7346


                         J. R. Hadley
                         214 Harvest Drive
                         Charlottesville, VA 22903


                         JP Morgan Chase Bank, N.A.
                         1111 Polaris Pkwy
                         Columbus, OH 43240


                         Kristen Mynes, Esq.
                         McGuire Woods, LLP 323 Second St., SE
                         Charlottesville, VA 22902


                         PBM Ice House
                         200 Garret St., Ste 0
                         Charlottesville, VA 22902


                         PBM Ice House, LLC
                         200 Garrett St., Ste 0
                         Charlottesville, VA 22902


                         Scott/Kroner, PLC
                         418 East Water St
                         Charlottesville, VA 22902


                         SKA Fabricating
                         545 Turner Dr., Ste A
                         Durango, CO 81303


                         Small Business Administration
                         409 3rd St., SW
                         Washington, DC 20416


                         Standard Produce
                         140 Garrett St
                         Charlottesville, VA 22902


                         Tom Shanahan
                         P.O. Box 1547
                         Mandeville, LA 70470


                         Virginia Department of Taxation
                         PO Box 2369
                         Richmond, VA 23218-2369


                         Virginia Linen Service
                         174 Industrial Dr
                         Ruckersville, VA 22968
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                         Virginia Pacific Investments
                         ATTN: Kimberly Giddings
                         2088 Union St., Ste 1
                         San Francisco, CA 94123


                         Wilson Richey
                         1883 Pine Cone Circle
                         Charlottesville, VA 22901


                         Woodard Properties
                         224 14th St., NW
                         Charlottesville, VA 22903
